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                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                      NORTHEASTERN DIVISION


 Hali Hollingsworth,                       }
                                           }
        Plaintiff,                         }
                                           }
 v.                                        }    Case No.: 5:21-cv-766-MHH
                                           }
 Medicredit, Inc.,                         }
                                           }
        Defendants.                        }
                                           }



                     HAIKALA CHAMBERS INITIAL ORDER
                          EFFECTIVE JULY 1, 2020

       The Court enters this order to help the parties and the Court “secure the just,

speedy, and inexpensive determination” of this action. Fed. R. Civ. P. 1. The Court

expects that the parties will be adversaries with respect to the substantive issues

litigated in this action, but counsel should cooperate in the litigation process in the

spirit of Rule 1.

       The information contained in the sections that follow address these topics:

         I.   Initial Screening of the Complaint
        II.   Motions to Dismiss
       III.   Initial Disclosures
      IV.     Rule 26(f) Obligations/Draft Scheduling Orders
        V.    Protective Orders
      VI.     Communication with the Court
      VII.    Required E-Mail Submissions to Chambers
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     VIII.        Briefing Format and Requirements
      IX.         Filing Procedures
       X.         Fee Shifting Cases
      XI.         Oral Argument

Please read this order closely. The Court asks the plaintiff to please serve a copy

of this order on the defendant(s) when the plaintiff serves the summons and

complaint.*

    I.         Initial Screening of the Complaint

          The Court has reviewed the complaint, and the Court finds that it may exercise

jurisdiction over the subject matter of this action. The Court has an ongoing

obligation to assess subject matter jurisdiction. If, on motion from a party or on its

own review, the Court determines that it may not have jurisdiction over the subject

matter of this action, then the Court will give the parties an opportunity to address

the jurisdictional issue.

    II.        Motions to Dismiss

          A.     A complaint must contain “a short and plain statement of the claim

showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). The Court

often receives motions to dismiss that describe perceived deficiencies in the factual

allegations of a complaint. A plaintiff may amend the complaint to address these

deficiencies. The Court will “freely give leave” to amend “when justice so requires.”


*
  This initial order governs all proceedings in this case. This case is not governed by the Uniform
Initial Order for the Northern District of Alabama.
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Fed. R. Civ. P. 15(a)(2). Accordingly, if counsel for a defendant believes that factual

allegations in a complaint do not meet Rule 8’s notice requirement, then counsel for

the defendant must confer with counsel for the plaintiff before filing a motion to

dismiss and ask counsel for the plaintiff to cure the perceived deficiencies.

       If counsel for the plaintiff agrees to amend the complaint, then the parties shall

file a notice advising the Court that they have conferred and the plaintiff has agreed

to file an amended complaint. The joint notice relieves the defendant(s) of the

obligation of responding to the original complaint. If, after conferring with the

plaintiff, the parties are not able to agree, and the defendant files a motion to dismiss,

then the defendant shall state on the first page of the motion that the parties conferred

before the defendant filed the Rule 12(b)(6) motion.1

       B.     When a defendant files a motion to dismiss, the Court will enter an

order that sets either a briefing schedule or a telephone or video conference to discuss

the motion. Unless instructed otherwise by the Court, parties may file a responsive

brief within 14 days of the filing of a motion to dismiss. The moving party may file

a reply brief 7 days later. If the Court believes the motion can be handled through a

conference with the parties, the Court shall order a telephone or video conference.




1
  The obligation to confer pertains only to Rule 12(b)(6) motions to dismiss based on the
sufficiency of the factual allegations in the complaint. There is no such prerequisite for other
motions to dismiss. This instruction does not apply to cases in which individuals are handling
their cases without the assistance of an attorney to represent them.
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    III.    Initial Disclosures

       At least seven days before the parties conduct a discovery conference

pursuant to Federal Rule of Civil Procedure 26(f), the parties shall exchange the

initial disclosures that Federal Rule of Civil Procedure 26(a)(1) requires. The Court

asks the parties to please exchange as much information as possible before the

discovery conference to facilitate better discussions during the discovery meeting.

The Court recognizes that in some circumstances, a party may not be able to provide

complete initial disclosures before the Rule 26(f) conference. The parties must

supplement initial disclosures pursuant to Rule 26(e).

    IV.     Rule 26(f) Obligations

       Within 21 days of the appearance of all defendants, the parties must confer

pursuant to Rule 26(f).2 If this case involves more than one defendant and if, 90

days from the date on which the plaintiff(s) filed the complaint, the defendants have

not all been served and/or appeared, the parties shall file a joint notice advising the

Court of the status of the case.

       The parties’ discussions during their Rule 26(f) conference shall cover the

following topics:


2
 Federal Rule of Civil Procedure 26(f)(2) provides: “[T]he court may order the parties or attorneys
to attend the conference in person.” Fed. R. Civ. P. 26(f)(2). The Court does not require the parties
to meet in person, but the Court encourages the parties to conduct their Rule 26(f) conference in
person or by video conference. Video conference is preferred during the COVID national
emergency.


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            the nature of the claims and defenses, the complexity of the case, and
             the possibility of a prompt settlement or resolution of the case through
             formal mediation or informal settlement negotiations;

            preservation of discoverable information;

            a proposed discovery plan that briefly describes the parties’ positions
             and provides proposed deadlines for the matters addressed in sub-
             paragraphs (A) through (F) of Fed. R. Civ. P. 26(f)(3); and

            execution of authorization(s) for disclosure of “protected health
             information” in cases in which the provisions of the Health Insurance
             Portability and Accountability Act of 1996 (“HIPAA”), Pub. L. No.
             104-191, 110 Stat. 1936 (1996), and regulations promulgated under the
             Act, apply.3

       Within three days of the Rule 26(f) meeting, the parties must file a joint

report of their planning meeting. The report must include:

            a brief description of the nature of the case;

            a list of the elements for each claim and defense, including citations for
             the principal cases upon which each party relies;4

            a list of related cases or proceedings pending before another judge of
             this court or before another court or administrative body;

            an indication of the parties’ assessment of the complexity of the case;
             and




3
 If the parties require a HIPAA protective order, they may find a draft order at the Court’s website.
The parties should tailor the draft order to the needs of their case and email their draft protective
order to the chambers email address (haikala_chambers@alnd.uscourts.gov).
4
  The Court understands the claims and defenses may evolve as parties exchange discovery. These
initial statements will not preclude additional or alternative claims or defenses.


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            an analysis of the case’s suitability for settlement or ADR.

Additionally,       the     parties     shall     email      to     chambers       at

haikala_chambers@alnd.uscourts.gov in Word a draft scheduling order that

provides proposed deadlines for discovery and dispositive motions and proposed

limits on the number of discovery requests. The Court will provide a date for a post-

discovery status conference. The parties shall please use the Word template for draft

scheduling orders available at https://www.alnd.uscourts.gov/content/judge-

madeline-h-haikala.

   V.      Protective Orders

        If the parties anticipate an exchange of information that is confidential or

proprietary, then the parties shall please email a draft protective order to chambers

at haikala_chambers@alnd.uscourts.gov in Word format. The parties shall please

include the following language in a proposed protective order:

        Any person who reviews or receives confidential material shall not
        disclose such information to any other person except as allowed by and
        in strict conformity with this Order. Attorneys of record shall advise
        all persons who are given access to confidential information of the
        terms of this order and shall have all persons who are given access to
        confidential information other than members of the attorneys’ staff sign
        a copy of this order to acknowledge their familiarity with the terms of
        the order and its binding force. Individuals who are shown confidential
        information shall not be allowed to retain copies and shall not use the
        confidential information for any purpose unrelated to this litigation.




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   VI.     Communication with the Court

        The Court may not engage in ex parte communication with the parties. If

counsel     need   to        contact   chambers,    they     shall   email        chambers   at

haikala_chambers@alnd.uscourts.gov and copy all other counsel on the email.

   VII. Required E-Mail Submissions to Chambers

        Counsel must e-mail to chambers in Word format copies of all filed motions

that exceed 10 pages, copies of all filed briefs, and copies of all proposed orders. All

communications to the chambers email address must show a copy to all opposing

counsel.

   VIII. Briefing Format and Requirements

        Documents that the parties create for submission to the Court shall use Times

New Roman Font and 14point type, except footnotes may be in 12point type.

Documents shall be double-spaced; footnotes and indented quotations that exceed

three lines must be single-spaced.

     Citations to the record in this case shall refer to the CM/ECF document number,

page number, and paragraph or deposition line number, where available. Evidence

cited in a brief must be filed in CM/ECF before a party files a brief to enable the

party to cite to the evidence by CM/ECF document and page number. If a party

cannot file evidence electronically before filing a brief, then the party shall, within

three       days        of       filing     a       brief,      email        to      chambers


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(haikala_chambers@alnd.uscourts.gov) a Word version of the brief with CM/ECF

record citations.

    Briefs accompanying motions and briefs in opposition to motions may not exceed

30 pages. Reply briefs may not exceed 15 pages.

    IX.     Filing Procedures

       a.      CM/ECF Record

       The official record of this case is maintained electronically via CM/ECF.

Except in extraordinary circumstances, all filings shall be consistent with the Court’s

Administrative Procedures Manual. Attorneys must register for electronic filing and

service through the “Attorney Registration” link on the Court’s website,

www.alnd.uscourts.gov.5

       Documents filed through CM/ECF must be in .pdf (Portable Document

Format). Should counsel have trouble filing a document, (s)he may call the Clerk’s

Office at (205) 278-1700 and select option 3 for the Help Desk for assistance.

       b.      Protected Information

       Counsel are reminded to please comply with the Court’s Administrative

Procedures Manual for electronic filing (on the Court’s website) with respect to

redacting or sealing personal identifiers (e.g., Social Security numbers, driver’s



5
  After an attorney has registered, his/her registration becomes permanent; (s)he is not required to
re-register in each individual case.
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license numbers, birth dates, addresses, telephone numbers, bank account and credit

card information) and other personal or sensitive information, in compliance with

the E-Government Act.

        c.     Sealing Documents

        If a party believes that information contained in a motion or an exhibit should

be placed under seal, then the party must file a motion for leave to file the document

under seal. If the Court grants the motion, the Court will review the information

placed under seal. Upon review, if the Court is inclined to lift the seal partially or

entirely, then the Court will give the parties notice and an opportunity to be heard.

   X.        Fee Shifting Cases

        The Court’s website contains standard orders for fee shifting cases. The

parties may access the Court’s website at http://www.alnd.uscourts.gov/content/

judge-madeline-h-haikala.

   XI.       Oral Argument

        The Court welcomes oral argument. Requests for oral argument shall appear

on the first page of a motion or brief directly below the case number in the caption

of the pleading.




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      Conclusion

      Counsel of record shall instruct all attorneys who work on this case,

including in-house counsel, to review this order. The Court looks forward to

working with the parties on this case.

      DONE and ORDERED this June 7, 2021.


                                    _________________________________
                                    MADELINE HUGHES HAIKALA
                                    UNITED STATES DISTRICT JUDGE




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